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                                                                        December 14, 2022

          VIA CM/ECF

                                 Re:          RiseandShine Corp. v. PepsiCo, Inc., 1:21-cv-6324 (LGS)

         Dear Judge Schofield:

                 Pursuant to Section I.D.3 of the Court’s Individual Practices in Civil Cases (“Individual
         Rules”), Defendant PepsiCo, Inc. (“PepsiCo”) respectfully submits this letter motion to file under
         seal Defendant PepsiCo, Inc.’s Letter Motion to Strike the Gyesky Declaration (“Letter Motion”)
         as well as Exhibits B, C, and D to the Letter Motion.

                 The redacted information in the Letter Motion describes and cites to documents that
         Plaintiff RiseandShine Corp. d/b/a Rise Brewing (“RBC”) has designated with one of the
         confidentiality designations under the Protective Order, and Exhibit B to the Motion was
         designated by RBC as Outside Attorneys’ Eyes Only under the Protective Order.

                 Legal Standard: While federal courts recognize a general common law right of public
         access to court records and proceedings, the right of access is not absolute, and courts have
         discretion to deny such public access where appropriate. Nixon v. Warner Commc’ns, Inc., 435
         U.S. 589, 597-99 (1978)). “To determine whether documents should be placed under seal, a court
         must balance the public’s interest in access to judicial documents against the privacy interests of
         those resisting disclosure.” In re Utica Mut. Ins. Co. v. INA Reinsurance Co., 468 F. App’x 37, 39
         (2d Cir. 2012) (citing Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119-20 (2d Cir. 2006)).

                  Court documents may be sealed to avert “[p]otential damage from the release of sensitive
         business information” and protect from the disclosure of information that may harm a business’s
         ability to compete in the future. Bergen Brunswig Corp. v. Ivax Corp., No. 97 Civ. 2003, 1998 WL
         113976, at *3 (S.D.N.Y. Mar. 12, 1998) (collecting cases); Standard v. Fin. Indus. Regulatory
         Auth., Ind., 347 F. App’x 615, 617 (2d Cir. 2009) (affirming district court’s sealing on grounds
         that the party’s “interest in protecting confidential business information outweighs the qualified
         First Amendment presumption of public access”).

                 Sealing Justification – Information RBC Has Designated Under the Protective Order:
         The Letter Motion describes and cites to the following documents that RBC has designated with
         one of the confidentiality designations under the Protective Order:

                     1.          Dkt. 30: Declaration of Grant Gyesky in Support of RBC’s Preliminary Injunction
                                 Motion – Designated as Confidential.

                     2.          Dkt. 404-52: RBC’s First Amended Responses and Objections to PepsiCo’s Third
                                 Set of Interrogatories – Designated Outside Attorneys’ Eyes Only.


Austin   Bay Area   Beijing   Boston   Brussels   Chicago   Dallas   Hong Kong   Houston   London   Los Angeles   Munich   Paris   Salt Lake City   Shanghai   Washington, D.C.
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       3.      Dkt. 406: Declaration of Grant Gyesky in Support of RBC’s Opposition to
               PepsiCo’s Motion for Summary Judgment – Filed Under Seal.

       4.      Dkt. 308: Deposition of Grant Gyesky – Designated as Confidential or higher.

       5.      Dkt. 382-21: Excerpt of Brett Reed Opening Report – Designated Outside
               Attorneys’ Eyes Only.

       6.      Dkt. 382-11: Excerpt of Brett Reed Deposition – Designated as Confidential or
               higher.

       7.      Dkt. 382-49: Excerpt of RISE0020905 – Designated Outside Attorneys’ Eyes Only.

       8.      Dkt. 379 at 21-24: PepsiCo’s Motion for Summary Judgment at 21-24, which itself
               cites various exhibits marked Confidential or higher by RBC.

Exhibit B to the Letter Motion is a document produced by RBC with bates stamp RISE0023776
that RBC designated as Outside Attorneys’ Eyes Only. Exhibit C to the Letter Motion is an excerpt
of a spreadsheet produced by RBC with bates stamp RISE0027286 that RBC designated as Outside
Attorneys’ Eyes Only. Exhibit D to the Letter Motion is an excerpt of a spreadsheet produced by
RBC with bates stamp RISE0028806 that RBC designated as Outside Attorneys’ Eyes Only.

       In accordance with Section I.D.3 of the Court’s Individual Rules, RBC bears the burden of
persuasion on the necessity of sealing the information discussed and cited above in the Letter
Motion and Exhibit B to the Letter Motion; RBC must file a letter within two business days of this
motion explaining why the information should be filed under seal.

         A list of counsel who should be granted access to the sealed material is listed in
Appendix 1. PepsiCo has served the letter on RBC’s counsel via ECF contemporaneously with
this filing.


                                                            Sincerely

                                                            /s/ Lauren J. Schweitzer

                                                            Lauren J. Schweitzer
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                           Appendix 1: List of Parties and Counsel

All counsel of record may have access to the filings:

Counsel for Plaintiff RiseandShine Corporation, doing business as Rise Brewing

       Jason Demian Rosenberg
       Christopher Louis McArdle
       Emily Chambers Welch
       Holly Hawkins Saporito
       Neal Joseph McLaughlin
       Paul J. Tanck
       Shaleen Patel

Counsel for Defendant PepsiCo, Inc.

       Dale Margaret Cendali
       Allison W. Buchner
       Diana Torres
       Lauren Schweitzer
       Luke Budiardjo
       Maria Monica Beltran
       Monica H. Smith
       Paul J. Reilly
       Saghar Esfandiarifard
       Susan Cannon Kennedy
